Case 2:03-cr-20211-SH|\/| Document 89 Filed 07/08/05 Page 1 01‘-2i PagelD 117

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Plaimirf, §
vs g cn. No. 03-20211-Ma
JERHY THOMPsoN §
Defendant §

 

ORDER ON CONT|NUANCE, SPECIFYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for trial on July 5, 2005. On July 7, 2005, the jury declared they
were unable to reach a unanimous decision. The Court declared a mistrial and continued the
matter to the next Criminai Rotation Trial Docket.

The case is hereby returned to Judge Mays’ court for any further proceedings and i_s

set for a report date on Fridayl July 22, 2005 at 2:00 g.m. with a trial date of August 1,
2005.
The period from July 15, 2005, through August12, 2005l is excludable under l8 U.S.C.

§ 3|61(e) to allow the defendant to be tried again following a declaration of a mistrial.

|T lS SO ORDERED this the 7 day Of Ju|y, 2005.

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This notice confirms a copy of the document docketed as number 89 in
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Honorable Samuel Mays
US DISTRICT COURT

